CM/ECF-GA Northern District Court                                  https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?339491300410306-...
                    Case 1:17-cr-00224-AT-CMS            Document 288        Filed 08/24/22       Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                  1:17-cr-00224-AT-CMS
                                                  USA v. Pendergrass et al
                                                 Honorable Amy Totenberg

                                Minute Sheet for proceedings held In Open Court on 08/24/2022.


              TIME COURT COMMENCED: 02:40 P.M.                    COURT REPORTER: Shannon Welch
              TIME COURT CONCLUDED: 06:15 P.M.                    CSO/DUSM: 1 CSO
              TIME IN COURT: 3:55                                 USPO: Alex Moody
              OFFICE LOCATION: Atlanta                            DEPUTY CLERK: Harry Martin

         DEFENDANT(S):              [1]Allen J. Pendergrass Present at proceedings
         ATTORNEY(S)                Saraliene Durrett representing Allen J. Pendergrass
         PRESENT:                   Tracia King representing USA
                                    Sydney Strickland representing Allen J. Pendergrass
         PROCEEDING
                                    Sentencing Hearing(Sentencing Hearing Non-evidentiary);
         CATEGORY:
         MINUTE TEXT:               Defendant sentenced as to Counts 1 through 10 of the Criminal Indictment
                                    and advised of appeal rights. See J&C for sentence. BOND
         HEARING STATUS:            Hearing Concluded




1 of 2                                                                                                             8/24/2022, 6:16 PM
CM/ECF-GA Northern District Court                      https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?339491300410306-...
                    Case 1:17-cr-00224-AT-CMS   Document 288     Filed 08/24/22       Page 2 of 2




2 of 2                                                                                                 8/24/2022, 6:16 PM
